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 7
 8                             IN THE UNITED STATES DISTRICT COURT
 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11                                                           Cr. S-07-122 EJG
     UNITED STATES OF AMERICA,
12                                                           STIPULATION AND ORDER RE:
                             Plaintiff,                      VACATING TRIAL CONFIRMATION
13                                                           HEARING AND TRIAL AND
                                                             CONTINUING FOR STATUS
14           vs.                                             CONFERENCE/ POSSIBLE CHANGE
                                                             OF PLEA AND EXCLUSION OF TIME
15   PHI VAY BUI and                                         UNDER SPEEDY TRIAL ACT
     DAVID NGUYEN,
16
                             Defendant(s).                   Hon. Edward J. Garcia
17
                                                                       STIPULATION
18
            Plaintiff, United States of America, by and through its counsel, Assistant United States
19
     Attorney Todd Leras, and defendants Phi Vay Bui and David Nguyen by and through their respecitve
20
     attorneys of record, Christopher Haydn-Myer and Hayes H. Gable III, agree and stipulate to vacate
21
     the existing trial confirmation hearing date in the above-captioned action, December 19, 2008, and
22
     the existing trial date of January 5, 2009 and to continue the matter to January 28, 2009, at 10:00
23
     a.m., for status conference/possible change of plea.
24
            The parties believe that a brief continuance to allow for further negotiations will result in the
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     matter resolving short of trial. The parties further agree and stipulate that the period for the filing
26
     of this stipulation until January 28, 2009, should be excluded in computing time for commencement
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     of trial under the Speedy Trial Act, based upon the interest of justice under 18 U.S.C. §
28
     3161(h)(8)(B)(iv) and Local Code T4, to allow continuity of counsel and to allow reasonable time
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 1   necessary for effective presentation.
 2          It is further agreed and stipulated that the need of defense counsel to prepare exceeds the
 3   public’s interest in commencing trial within 70 days.
 4          Accordingly, the parties respectfully request the Court adopt this proposed stipulation.
 5   DATE: December 10, 2008
                                                                      s/Hayes H. Gable, III for
 6                                                                  CHRISTOPHER HAYDN-MYER
                                                                    Attorney for Defendant
 7                                                                  PHI VAY BUI
 8                                                                   s/Hayes H. Gable, III
                                                                    HAYES H. GABLE, III
 9                                                                  Attorney for Defendant
                                                                    DAVID NGUYEN
10
                                                                      s/Hayes H. Gable, III for
11                                                                  TODD LERAS
                                                                    Asst. U.S. Attorney
12
13                                                 ORDER
14                    For the reasons set forth in the accompanying stipulation and declaration of
15   counsel, the trial confirmation hearing date in the above-captioned action, December 19, 2008, and
16   the existing trial date of January 5, 2009, are hereby vacated and this matter is continued to January
17   28, 2009, at 10:00 a.m., for status conference/possible change of plea.
18          The court finds excludable time in this matter from December 19, 2008, through January
19   28, 2009, under 18 U.S.C. § 3161(h)(8)(B)(iv) and Local Code T4, to allow continuity of counsel
20   and to allow reasonable time necessary for effective presentation. For the reasons stipulated by the
21   parties, the Court finds that the interest of justice served by granting the requested continuance
22   outweigh the best interests of the public and the defendant in a speedy trial. 18 U.S.C. 3161(h)(8)(A),
23   (h)(8)(B)(iv).
24   IT IS SO ORDERED.
25   DATE: December 11, 2008
26                                                                   /s/ Edward J. Garcia
                                                                    HON. EDWARD J. GARCIA
27                                                                  Senior U.S. District Court Judge
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